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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                   CR 18-29-GF-BMM

           Plaintiff,
                                            ORDER
     vs.

CAROLINA CHRISTINA
RAMIREZ,

           Defendant.



      Upon motion of the United States and for good cause shown,

      IT IS ORDERED that the Superseding Indictment is dismissed against

Carolina Christina Ramirez without prejudice.

      DATED this 3rd day of June 2019.




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